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                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
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     COMMANDER EMILY SHILLING, et                     CASE NO. 25-cv-241-BHS
 8   al.,
                                                      ORDER
 9                            Plaintiffs,
            v.
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     UNITED STATES, et al.,
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                              Defendants.
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13                                                 ORDER
14          For the reasons set forth in its Opinion, the Court GRANTS plaintiffs’ Motion for
15   Preliminary Injunction, Dkt. 23. It further
16          ORDERS that all defendants ARE PRELIMINARILY ENJOINED, pending
17   further order of this Court, from implementing the Military Ban—Executive Order No.
18   14183. This includes the Hegseth Policy—“Additional Guidance on Prioritizing Military
19   Excellence and Readiness,” Dkt. 58-7, and all other memoranda, guidance, policies, or
20   actions issued or forthcoming implementing the Military Ban or the Hegseth Policy.
21          The effect of the Court’s Order is to maintain the status quo of military policy
22   regarding both active-duty and prospective transgender service that existed nationwide


     ORDER - 1
 1   immediately before President Trump issued the Military Ban. For example, the policies

 2   described in Department of Defense Instruction (DoDI) 6130.03, Volume 1, “Medical

 3   Standards for Military Service: Appointment, Enlistment, or Induction,” change 5, May

 4   28, 2024; DoDI 6130.03, Volume 2, “Medical Standards for Military Service: Retention,”

 5   change 1, June 6, 2022; and DoDI 1300.28, “In-Service Transition for Transgender

 6   Service Members,” change 1, December 20, 2022. This Order applies to all plaintiffs and

 7   any similarly situated individuals nationwide, including those serving out of country.

 8         Dated this 27th day of March, 2025.
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12                                                    BENJAMIN H. SETTLE
                                                      United States District Judge
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     ORDER - 2
